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 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   AMY WALKER,                                   No. CIV S-06-2315-MCE-CMK

12                  Plaintiff,

13          vs.                                    ORDER

14   U.S. DEPARTMENT OF
     HOUSING AND URBAN
15   DEVELOPMENT, et al.,

16                  Defendants.

17                                        /

18                  Plaintiff, who is proceeding pro se, brings this action. The matter was referred to

19   a United States Magistrate Judge pursuant to Eastern District of California local rules.

20                  On August 16, 2007, the magistrate judge filed findings and recommendations

21   herein which were served on the parties and which contained notice that any objections to the

22   findings and recommendations were to be filed within 20 days. No objections to the findings and

23   recommendations have been filed.

24                  The court has reviewed the file and finds the findings and recommendations to be

25   supported by the record and by the magistrate judge's analysis.

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 1                  Accordingly, IT IS HEREBY ORDERED that:

 2                  1.     The findings and recommendations filed August 16, 2007, are adopted in

 3   full;

 4                  2.     This action is dismissed, without prejudice, for lack of prosecution and

 5   failure to comply with court rules and orders; and

 6                  3.     The Clerk of the Court is directed to enter judgment and close this file.

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      Dated: October 31, 2007
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                                                  ________________________________
 9                                                MORRISON C. ENGLAND, JR.
                                                  UNITED STATES DISTRICT JUDGE
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